        Case 23-14433-CMG                   Doc 2        Filed 05/23/23 Entered 05/23/23 16:04:47                              Desc Main
                                                         Document Page 1 of 6
STATISTICAL INFORMATION ONLY: Debtor must select the number of each of the following items included in the Plan.

 0    Valuation of Security            0   Assumption of Executory Contract or Unexpired Lease                    0 Lien Avoidance



                                                                                                                      Last revised: August 1, 2020

                                                UNITED STATES BANKRUPTCY COURT
                                                     DISTRICT OF NEW JERSEY

In Re:                                                                                 Case No.:
Moran, Mark
                                                                                       Judge:

                     Debtor(s)

                                                        Chapter 13 Plan and Motions

               ✔ Original
               ❑                                    ❑ Modified/Notice Required                        Date:     05/18/2023

               ❑ Motions Included                   ❑ Modified/No Notice Required
                                                 THE DEBTOR HAS FILED FOR RELIEF UNDER
                                                  CHAPTER 13 OF THE BANKRUPTCY CODE

                                                   YOUR RIGHTS MAY BE AFFECTED

You should have received from the court a separate Notice of the Hearing on Confirmation of Plan , which contains the date of the confirmation
hearing on the Plan proposed by the Debtor. This document is the actual Plan proposed by the Debtor to adjust debts. You should read these
papers carefully and discuss them with your attorney. Anyone who wishes to oppose any provision of this Plan or any motion included in it must
file a written objection within the time frame stated in the Notice. Your rights may be affected by this plan. Your claim may be reduced, modified,
or eliminated. This Plan may be confirmed and become binding, and included motions may be granted without further notice or hearing, unless
written objection is filed before the deadline stated in the Notice. The Court may confirm this plan, if there are no timely filed objections, without
further notice. See Bankruptcy Rule 3015. If this plan includes motions to avoid or modify a lien, the lien avoidance or modification may take
place solely within the chapter 13 confirmation process. The plan confirmation order alone will avoid or modify the lien. The debtor need not file a
separate motion or adversary proceeding to avoid or modify a lien based on value of the collateral or to reduce the interest rate. An affected lien
creditor who wishes to contest said treatment must file a timely objection and appear at the confirmation hearing to prosecute same.

 The following matters may be of particular importance. Debtors must check one box on each line to state whether the plan includes
 each of the following items. If an item is checked as “Does Not” or if both boxes are checked, the provision will be ineffective if set out
 later in the plan.

THIS PLAN:

       ✔ DOES NOT CONTAIN NON-STANDARD PROVISIONS. NON-STANDARD PROVISIONS MUST ALSO BE SET FORTH IN PART
❑ DOES ❑
10.

       ✔ DOES NOT LIMIT THE AMOUNT OF A SECURED CLAIM BASED SOLELY ON VALUE OF COLLATERAL, WHICH MAY
❑ DOES ❑
RESULT IN A PARTIAL PAYMENT OR NO PAYMENT AT ALL TO THE SECURED CREDITOR. SEE MOTIONS SET FORTH IN PART 7, IF
ANY.

       ✔ DOES NOT AVOID A JUDICIAL LIEN OR NONPOSSESSORY, NONPURCHASE-MONEY SECURITY INTEREST. SEE
❑ DOES ❑
MOTIONS SET FORTH IN PART 7, IF ANY.

Initial Debtor(s)’ Attorney:     MC               Initial Debtor:    MM                Initial Co-Debtor:




                                                                     Page 1 of 6
      Case 23-14433-CMG                      Doc 2         Filed 05/23/23 Entered 05/23/23 16:04:47                             Desc Main
                                                           Document Page 2 of 6

     Part 1:         Payment and Length of Plan

a.     The debtor shall pay        $233.00        per        month         to the Chapter 13 Trustee, starting on      06/01/2023      for
       approximately          60      months.


b.     The debtor shall make plan payments to the Trustee from the following sources:

       ✔ Future earnings
       ❑
       ❑ Other sources of funding (describe source, amount and date when funds are available):
c.     Use of real property to satisfy plan obligations:

       ❑ Sale of real property
               Description:

               Proposed date for completion:

       ❑ Refinance of real property:
               Description:

               Proposed date for completion:

       ✔ Loan modification with respect to mortgage encumbering property:
       ❑
               Description: Rushmore Mortgage Servicing- 6 Lake St, Point Pleasant

               Proposed date for completion:       11/30/2023

d.     ✔ The regular monthly mortgage payment will continue pending the sale, refinance or loan modification.
       ❑
e.     ❑ Other information that may be important relating to the payment and length of plan:
     Part 2:         Adequate Protection           ✔ NONE
                                                   ❑
a.     Adequate protection payments will be made in the amount of                       to be paid to the Chapter 13 Trustee and disbursed
       pre-confirmation to                            (creditor).

b.     Adequate protection payments will be made in the amount of                       to be paid directly by the debtor(s) outside the Plan,
       pre-confirmation to:                           (creditor).

     Part 3:         Priority Claims (Including Administrative Expenses)


a.     All allowed priority claims will be paid in full unless the creditor agrees otherwise:

 Creditor                                            Type of Priority                                  Amount to be Paid

 CHAPTER 13 STANDING TRUSTEE                         ADMINISTRATIVE                                    AS ALLOWED BY STATUTE

 Gillman, Bruton & Capone LLC                        Attorney’s Fees                                   Counsel fees shall be paid on an hourly basis.
                                                                                                       Counsel shall file a Fee Application within 7
                                                                                                       days of Confirmation of the Plan in accordance
                                                                                                       with the Local Rules. Counsel estimates that
                                                                                                       $3,000 shall be paid through the Plan.


b.     Domestic Support Obligations assigned or owed to a governmental unit and paid less than full amount:

       Check one:

       ✔ None
       ❑
       ❑ The allowed priority claims listed below are based on a domestic support obligation that has been assigned to or is owed to a
            governmental unit and will be paid less than the full amount of the claim pursuant to 11 U.S.C.1322(a)(4):
                                                                     Page 2 of 6
       Case 23-14433-CMG                       Doc 2          Filed 05/23/23 Entered 05/23/23 16:04:47                                 Desc Main
                                                              Document Page 3 of 6

 Creditor                                          Type of Priority                               Claim Amount              Amount to be Paid


     Part 4:         Secured Claims


a.     Curing Default and Maintaining Payments on Principal Residence: ❑ NONE

The Debtor will pay to the Trustee (as part of the Plan) allowed claims for arrearages on monthly obligations and the debtor shall pay directly to
the creditor (outside the Plan) monthly obligations due after the bankruptcy filing as follows:

                                                                                                                                       Regular Monthly
                             Collateral or Type of                                     Interest Rate on       Amount to be Paid to
 Creditor                                                   Arrearage                                                                  Payment (Outside
                             Debt                                                      Arrearage              Creditor (In Plan)
                                                                                                                                       Plan)

                             Residence
 Rushmore Loan Mgmt
                             6 Lake Street Point                        $58,577.36                    0.00%             Arrears                  $1,858.40
 Srvc                                                                                                                   shall be
                             Pleasant Beach, NJ 08742
                                                                                                                        paid
                                                                                                                        through the
                                                                                                                        Loan
                                                                                                                        Modification

b.                                                                                               ✔ NONE
       Curing and Maintaining Payments on Non-Principal Residence & other loans or rent arrears: ❑

The Debtor will pay to the Trustee (as part of the Plan) allowed claims for arrearages on monthly obligations and the debtor will pay directly to
the creditor (outside the Plan) monthly obligations due after the bankruptcy filing as follows:

                                                                                                                                       Regular Monthly
                             Collateral or Type of                                     Interest Rate on       Amount to be Paid to
 Creditor                                                   Arrearage                                                                  Payment (Outside
                             Debt                                                      Arrearage              Creditor (In Plan)
                                                                                                                                       Plan)

c.     Secured claims excluded from 11 U.S.C. 506 X NONE

The following claims were either incurred within 910 days before the petition date and are secured by a purchase money security interest in a
motor vehicle acquired for the personal use of the debtor(s), or incurred within one year of the petition date and secured by a purchase money
security interest in any other thing of value:

                                                                                                                  Total to be Paid through the Plan
 Name of Creditor                              Collateral                  Interest Rate        Amount of Claim
                                                                                                                  Including Interest Calculation

d.                                                                                          ✔ NONE
       Requests for valuation of security, Cram-down, Strip Off & Interest Rate Adjustments ❑

       1.) The debtor values collateral as indicated below. If the claim may be modified under Section 1322(b)(2), the secured creditor shall be
       paid the amount listed as the “Value of the Creditor Interest in Collateral,” plus interest as stated. The portion of any allowed claim that
       exceeds that value shall be treated as an unsecured claim. If a secured claim is identified as having “NO VALUE” it shall be treated as an
       unsecured claim.

                                             NOTE: A modification under this Section ALSO REQUIRES
                                           the appropriate motion to be filed under Section 7 of the Plan.

                                                                                                              Value of
                                                                          Total                                                Annual
                                                        Scheduled                                             Creditor                       Total Amount
 Creditor                 Collateral                                      Collateral        Superior Liens                     Interest
                                                        Debt                                                  Interest in                    to be Paid
                                                                          Value                                                Rate
                                                                                                              Collateral

       2.) Where the Debtor retains collateral and completes the Plan, payment of the full amount of the allowed secured claim shall discharge
       the corresponding lien.




                                                                            Page 3 of 6
       Case 23-14433-CMG                   Doc 2           Filed 05/23/23 Entered 05/23/23 16:04:47                             Desc Main
                                                           Document Page 4 of 6

e.               ✔ NONE
       Surrender ❑

Upon confirmation, the stay is terminated as to surrendered collateral only under 11 U.S.C. 362(a) and that the stay under 11 U.S.C 1301 be
terminated in all respects. The Debtor surrenders the following collateral:

 Creditor                                 Collateral to be Surrendered             Value of Surrendered Collateral    Remaining Unsecured Debt

f.     Secured Claims Unaffected by the Plan [ ]NONE
       NJ Housing and Mortgage FinanceAgency


       The following secured claims are unaffected by the Plan:

g.                                                         ✔ NONE
       Secured Claims to be Paid in Full Through the Plan: ❑

                                                                                                              Total Amount to be Paid Through the
 Creditor                                                 Collateral
                                                                                                              Plan


     Part 5:        Unsecured Claims            ❑ NONE
a.     Not separately classified allowed non-priority unsecured claims shall be paid:

       ❑ Not less than                          to be distributed pro rata

       ✔ Not less than
       ❑                       100.00%          percent

       ❑ Pro Rata distribution from any remaining funds
b.     Separately classified unsecured claims shall be treated as follows:

 Creditor                                Basis for Separate Classification                 Treatment                       Amount to be Paid


     Part 6:        Executory Contracts and Unexpired Leases                       ✔ NONE
                                                                                   ❑
(NOTE: See time limitations set forth in 11 U.S.C. 365(d)(4) that may prevent assumption of non-residential real property leases in this Plan.)

All executory contracts and unexpired leases, not previously rejected by operation of law, are rejected, except the following, which are assumed:

                                 Arrears to be Cured in            Nature of Contract or
 Creditor                                                                                       Treatment of Debtor        Post-Petition Payment
                                 Plan                              Lease


     Part 7:        Motions      ✔ NONE
                                 ❑
NOTE: All plans containing motions must be served on all affected lienholders, together with local form, Notice of Chapter 13 Plan
Transmittal, within the time and in the manner set forth in D.N.J. LBR 3015-1. A Certification of Service, Notice of Chapter 13 Plan
Transmittal and valuation must be filed with the Clerk of Court when the plan and transmittal notice are served.

a.                                                            ✔ NONE
       Motion to Avoid Liens Under 11. U.S.C. Section 522(f). ❑

The Debtor moves to avoid the following liens that impair exemptions:

                                                                                                                          Sum of All
                                                                                                          Amount of                     Amount of
                                                                       Amount of       Value of                           Other Liens
 Creditor                Nature of Collateral       Type of Lien                                          Claimed                       Lien to be
                                                                       Lien            Collateral                         Against the
                                                                                                          Exemption                     Avoided
                                                                                                                          Property

b.                                                                                     ✔ NONE
       Motion to Avoid Liens and Reclassify Claim from Secured to Completely Unsecured ❑

                                                                        Page 4 of 6
       Case 23-14433-CMG                        Doc 2     Filed 05/23/23 Entered 05/23/23 16:04:47                            Desc Main
                                                          Document Page 5 of 6

The Debtor moves to reclassify the following claims as unsecured and to void liens on collateral consistent with Part 4 above:

                                                                                                                Value of
                                                                                                                                   Total Amount of
                                                                          Total Collateral                      Creditor's
 Creditor                          Collateral           Scheduled Debt                        Superior Liens                       Lien to be
                                                                          Value                                 Interest in
                                                                                                                                   Reclassified
                                                                                                                Collateral

c.                                                                                                                   ✔ NONE
       Motion to Partially Void Liens and Reclassify Underlying Claims as Partially Secured and Partially Unsecured. ❑

The Debtor moves to reclassify the following claims as partially secured and partially unsecured, and to void liens on collateral consistent with
Part 4 above:

                                                                             Total                                        Amount to be
                                                            Scheduled                         Amount to be Deemed
 Creditor                      Collateral                                    Collateral                                   Reclassified as
                                                            Debt                              Secured
                                                                             Value                                        Unsecured


     Part 8:          Other Plan Provisions


a.     Vesting of Property of the Estate

       ✔ Upon confirmation
       ❑
       ❑ Upon discharge
b.     Payment Notices

Creditors and Lessors provided for in Parts 4, 6 or 7 may continue to mail customary notices or coupons to the Debtor notwithstanding the
automatic stay.

c.     Order of Distribution

       The Standing Trustee shall pay allowed claims in the following order:

                1. Administrative Priority Claims
                2. Secured Creditors
                3. Priority Creditors
                4. General Unsecured Creditors x

d.     Post-Petition Claims

                           ✔ is not authorized to pay post-petition claims filed pursuant to 11 U.S.C. Section 1305(a) in the amount filed by
The Standing Trustee ❑ is, ❑
the post-petition claimant.

     Part 9:          Modification          ✔ NONE
                                            ❑
NOTE: Modification of a plan does not require that a seperate motion be filed. A modified plan must be served in accordance with
D.N.J. LBR 3015-2.

If this Plan modifies a Plan previously filed in this case, complete the information below.

Date of Plan being modified:

 Explain below why the plan is being modified:                               Explain below how the plan is being modified:


Are Schedules I and J being filed simultaneously with this Modified Plan?                 ❑ Yes          ❑ No
     Part 10:         Non-Standard Provision(s): Signatures Required




                                                                      Page 5 of 6
        Case 23-14433-CMG                    Doc 2           Filed 05/23/23 Entered 05/23/23 16:04:47                         Desc Main
                                                             Document Page 6 of 6

Non-Standard Provisions Requiring Separate Signatures:

✔ NONE
❑
❑ Explain Here:
Any non-standard provisions placed elsewhere in this plan are ineffective.

  Signatures


The Debtor(s) and the attorney for the Debtor(s), if any, must sign this Plan.

By signing and filing this document, the debtor(s), if not represented by an attorney, or the attorney for the debtor(s) certify that the wording and
order of the provisions in this Chapter 13 Plan are identical to Local Form, Chapter 13 Plan and Motions, other than any non-standard provisions
included in Part 10.

I certify under penalty of perjury that the above is true.

Date:           05/17/2023                                      /s/ Mark Moran
                                              Mark Moran
                                              Debtor

Date:
                                              Joint Debtor


Date:           05/17/2023                                    /s/ Marc C Capone
                                              Marc C Capone
                                              Attorney for Debtor(s)
                                              Bar Number: 021401993
                                              Gillman, Bruton & Capone, LLC
                                              60 Highway 71 Unit 2
                                              Spring Lake, NJ 07762
                                              Phone: (732) 528-1166
                                              Email: mcapone@gbclawgroup.com




                                                                       Page 6 of 6
